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 6 United States of America

 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. 1:15-cr-00286-DAD-BAM
12                                Plaintiff,               STIPULATION REGARDING
                                                           CONTINUANCE; ORDER
13                 v.
14   ZAID ELODAT,
15                                Defendant.
16

17
                                               STIPULATION
18

19

20          Plaintiff United States of America, by and through its counsel of record, and defendant, by

21 and through his counsel of record, hereby stipulate as follows:

22          1.     By previous order, this matter was set for sentencing on Monday, June 8, 2020, at

23                 10:00 a.m.

24          2.     By this stipulation, the parties now move to continue the matter to Monday,

25                 September 21, 2020, at 10:00 a.m., to accommodate defense counsel’s request to be

26                 present in court for sentencing.

27          3.     The parties further stipulate to the following schedule:

28
                                                       1
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 1         Informal Objections Due:                                         August 31, 2020

 2         Final PSR Filed with the Court:                                  September 7, 2020

 3         Formal Objections to PSR/Sentencing Memo due:                    September 14, 2020

 4         Responses to Formal Objections/Reply to Sentencing Memo:         September 21, 2020

 5

 6 IT IS SO STIPULATED.

 7

 8 DATED:          May 14, 2020         Respectfully submitted,

 9                                      McGREGOR W. SCOTT

10                                      United States Attorney

11                                      /s/ Karen A. Escobar

12                                      KAREN A. ESCOBAR

13                                      Assistant United States Attorney

14

15 DATED:          May 14, 2020

16                                      /s/ Edward Robinson

17                                      EDWARD ROBINSON

18                                      Counsel for Defendant

19                                      Zaid Elodat

20

21                                             ORDER

22         IT IS SO ORERED that the sentencing hearing set for Monday, June 8, 2020 be continued

23 to Monday September 21, 2020 in Courtroom 5. Informal Objections Due: August 24, 2020; Final PSR

24 Filed with the Court: August 31, 2020; Formal Objections to PSR/Sentencing Memo due: September 7,

25 2020; Responses to Formal Objections/Reply to Sentencing Memo: September 14, 2020

26 IT IS SO ORDERED.

27
        Dated:    May 15, 2020
28                                                    UNITED STATES DISTRICT JUDGE
                                                      2
